AO 91 (Rev. 02/09) Criminal Complaint

United States District Couft,

for the
Western District of New York

United States of America )
)

Vv. ) Case No. {0 Mj SOY
)
RICHARD L. ALRED )
)
Defendant )

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

From, on or about the dates of December 2008 through January 22, 2009. in the county of __Chemung in the
Western District of New York, the defendant violated 18 U.S.C. § 2252A(a)(5)(B), an offense described as follows:
the defendant, knowingly possessed child pornography with the images of child pornography having been produced using

materials that had been mailed, shipped or transported in interstate or foreign commerce, in violation of Title 18, United States
Code, Section 2252A(a)(5)(B) .

This criminal complaint is based on these facts:

@ Continued on the attached sheet.

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Complainant's sighgiuré ‘s

Christopher S. Mayfield

Federal Bureau of Investigation
Printed name and title

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Judge's signature

Sworn to before me and signed in my presence.

Date: January/3. 2010

ofable Jonathan W. Feldman

Ed States Magistrate Judge
Printed name and title

City and State: _Rochester. New York

10M) SOX

AFFIDAVIT IN SUPPORT
OF A CRIMINAL COMPLAINT

State of New York )
County of Monroe ) Ss:
City of Rochester )

CHRISTOPHER S. MAYFIELD, being duly sworn deposes and says:

1. I ama Special Agent of the Federal Bureau of
Investigation (FBI) and have been so employed since May of 1998,

duly appointed according to law and acting as such.

2. I am presently assigned to the Elmira, New York,
Resident Agency of the FBI and I investigate, among other things,
matters involving child pornography and the exploitation of
children. I have received training in the area of child
pornography and child exploitation, and have been required to
observe and review numerous examples of child pornography (as
defined in Title 18, United States Code, Section 2256) in all
forms of media including computer media. I have also
participated in the execution of numerous search warrants, many
of which involved child exploitation and child pornography
offenses. This affidavit is based on my investigation and on

information provided to me by members of the law enforcement

community, including members of the New York State Police (NYSP)

and the Pennsylvania Attorney General's Office. The facts of
those parts of this investigation with which I was not personally
involved were relayed to me by Investigator Eric Hurd of the
NYSP, and Special Agent Kurt Smith of the Pennsylvania Attorney

General's Office.

3. This affidavit is made in support of a complaint
charging RICHARD L. ALRED with possession of child pornography,
in violation of Title 18, United States Code, Section
2252A(a) (5) (B). Because this affidavit is being submitted for
the limited purpose of securing an arrest warrant, I have not
included each and every fact known to me concerning this
investigation. I have set forth only the facts that I believe
are necessary to establish probable cause that RICHARD L. ALRED

did in fact violate Title 18, United States Code, Section 2252A.

DETAILS OF THE INVESTIGATION

4. In December of 2008, Investigator Eric Hurd of the NYSP
was contacted by Special Agent Kurt Smith of the Pennsylvania
Attorney General's Office (hereafter referred to as the “PA AG” )
in regards to a pending investigation. Special Agent Smith was

conducting an investigation where he was posing online as a 13

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year-old female. During the course of the investigation, Special
Agent Smith had been chatting with a subject who was sending live
video feeds depicting himself masturbating his exposed penis.
Special Agent Smith was able to determine that the video was
originating from XXX Hillingdon Way, Horseheads, New York. He
further determined that a RICHARD L. ALRED (“ALDRED”) resided at

that address.

5. On 01/22/2009, members of the NYSP and PA AG arrested
ALRED on six (6) counts of Unlawful Contact With Minors, a Felony
3rd in the Commonwealth of Pennsylvania and one (1) count of
Criminal Use of a Communication Facility, a Felony 3rd in the
Commonwealth of Pennsylvania. A search warrant was also served
at ALRED's residence and the evidence seized included a Hewlett
Packard desktop computer, several digital cameras, and a number
of compact discs and diskettes. ALRED's Hewlett Packard/Compaq
Presario laptop computer anda web camera were located and seized
at ALRED's place of employment. ALRED signed a consent to
search form for his laptop computer. ALRED was transported to

Pennsylvania by Special Agent Smith.

6. A computer forensic analysis on the evidence obtained
during the ALRED investigation was conducted by the PA AG's

Computer Forensic Unit. During this analysis, examiners located

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approximately 269 picture files which depicted suspected child
pornography and approximately 15 videos which also depicted
suspected child pornography. The pictures and videos selected by
the examiners as suspected child pornography were selected based
on the training and experience of the forensics examiner, as well
as a common sense appraisal of the images. The suspected child
pornography images and videos were located by the examiners on
ALRED's Hewlett Packard/Compaq laptop computer and various

diskettes and compact discs.

7. The results of the forensic analysis were provided to
the FBI by the PA AG and I have reviewed several of the videos
and images obtained during the examination. One video, titled
"8 yo boy butt-fucks 11 yo girl", depicts a prepubescent male
anally penetrating a prepubescent female with his penis. A
second video, titled "babysitter and girl 8 yo - 10 yo having sex
with older sister", depicts a teenage or young adult female
engaged in sexual activity with a prepubescent female, to include
penetrating the victim's vagina and anus with a dildo. A second
prepubescent female is then brought in to engage in sexual
activity with the first victim, to include licking each other's
vaginal areas. These videos were located on ALRED's Hewlett
Packard/Compaq laptop computer. Examples of the images I

reviewed include one picture that appears to be an approximately

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12 - 14 year-old female lying naked on her back with her legs
spread to expose her vaginal area. I am aware that this image
depicts a known child victim and it was produced in the State of
Connecticut. A second image shows a prepubescent female
performing oral sex on an adult male's penis. This image also

depicts a known child victim and it was produced in England.

8. On the back of the Hewlett Packard/Compaq laptop

computer is the label "manufactured in China".

9. Based on the foregoing, the undersigned respectfully

requests that the Court sign a Complaint charging RICHARD L.
ALRED with possession of child pornography, in violation of

Title 18, United States Code, Section 2252A(a) (5) (B)

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HRISTOPHER Ss.
CuRsATO Agent
Federal Bureau of Investigation

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j da anuary, 2010.

Lorable Jonathan W. Feldman
ed States Magistrate Judge
gtern District of New York

